       Case 2:14-cr-20109-JAR              Document 265           Filed 12/01/16         Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

             Plaintiff,

             v.                                                    Case No. 14-CR-20109-01-JAR

KATHLEEN STEGMAN,

             Defendant.


                                    MEMORANDUM AND ORDER

        This matter comes before the Court on Defendant Kathleen Stegman’s Motion for Bond

Pending Appeal (Doc. 254). Defendant seeks release on bond pending appeal because she

argues that her appeal presents substantial questions of law that could result in a reversal of her

conviction. The motion is fully briefed and the Court is prepared to rule. For the reasons stated

in detail below, the Court denies Defendant’s motion for bond pending appeal.

I.      Background

        Defendant Stegman was charged in a Superseding Indictment with three counts of

corporate income tax evasion in violation of 26 U.S.C. § 7201, related to her business, Midwest

Medical Aesthetics Center (“MMAC”).1 Counts 4 and 5 of the Superseding Indictment charged

her with individual tax evasion in violation of 26 U.S.C. § 7201. She and co-Defendant

Christopher Smith were charged in Count 6 with one count of conspiracy to defraud the United

States in violation of 18 U.S.C. § 371.

        At the completion of a six-week jury trial, the jury returned guilty verdicts on Counts 1,

2, 4, and 5. The jury acquitted Defendant of Count 3, the corporate tax evasion charge for tax

        1
        Doc. 41. As discussed more fully below, the original Superseding Indictment referred to the business as
“Midwest Medical Aesthetics Center, Inc” (“MMACI”).




                                                        1
       Case 2:14-cr-20109-JAR                Document 265           Filed 12/01/16         Page 2 of 10




year 2010. Both defendants were acquitted of Count 6, the conspiracy charge. Following the

trial, Defendant filed Motions for Acquittal or, in the Alternative, for New Trial.2 On September

19, 2016, the Court granted Defendant’s motion for acquittal as to Counts 1 and 2, denied her

motion for acquittal as to Counts 4 and 5, and denied her motion for new trial.3

        On October 18, the Court sentenced Defendant to a term of fifty-one months’

imprisonment and three years supervised release on Counts 4 and 5, to be served concurrently.

Defendant filed a Notice of Appeal on October 31, 2016. Defendant also filed a Motion to

Extend the Voluntary Self-Surrender Date.4 The Court granted that motion and extended

Defendant’s self-surrender date until January 2, 2017.5

II.     Discussion

        Under 18 U.S.C. § 3143(b), a defendant who has filed an appeal may be released on bond

pending appeal if a court finds

        (A) by clear and convincing evidence that the person is not likely to flee or pose a
            danger to the safety of any other person or the community if released under
            section 3142(b) or (c) of this title; and
        (B) that the appeal is not for the purpose of delay and raises a substantial question
            of law or fact likely to result in [reversal, an order for new trial, or a reduced
            sentence].

The Tenth Circuit has explained that a “substantial question” for purposes of the § 3143(b)

analysis means “a ‘close’ question or one that very well could be decided the other way.”6

Defendant argues for release because three issues that this Court previously ruled on will present

close questions on appeal. The Court addresses each argument in turn.

        2
            Docs. 191 & 205.
        3
            Doc. 238.
        4
            Doc. 259.
        5
            Doc. 262.
        6
        United States v. Affleck, 765 F.2d 944, 952 (10th Cir. 1985); United States v. Allerheiligen, No. 97-
400090-01-DES, 1999 WL 287711, at *2 (D. Kan. Apr. 29, 1999).




                                                         2
       Case 2:14-cr-20109-JAR                   Document 265            Filed 12/01/16         Page 3 of 10




         A.          Amendment of Superseding Indictment

         Defendant first argues that a close question exists as to whether the Court’s allowance of

the Government’s amendment of the Superseding Indictment from “MMACI” to “MMAC”

deprived her of her substantial rights. “A constructive amendment, which is reversible per se,

occurs when the district court’s instructions and the proof offered at trial broaden the

indictment.”7 On the other hand, “[a] simple variance arises when the evidence adduced at trial

established facts different from those alleged in the indictment.”8 “An amendment of form and

not of substance” is a mere variance “when the defendant is not misled in any sense, is not

subjected to any added burdens, and is not otherwise prejudiced.”9 “[A] simple variance does

not warrant the reversal of a conviction so long as the variance did not affect the defendant’s

substantial rights.”10 The substantial rights courts generally are concerned about in this context

are the defendant’s Sixth Amendment right to notice of the charges against her, the defendant’s

Fifth Amendment right against double jeopardy, and the right to be convicted on legally

permissible grounds.11

         Defendant argues that it is a close question whether the change in the name of the

company constituted an unconstitutional amendment of the Superseding Indictment, rather than a

simple variance. She argues that by allowing the Government to change the name of MMACI,

the Court unconstitutionally broadened the possible bases of conviction. Defendant argues that

as a result of the change in the Superseding Indictment to MMAC, she was obligated to refute
         7
         United States v. Sells, 477 F.3d 1226, 1237 (10th Cir. 2007) (citing United States v. Wright, 932 F.2d 868,
874 (10th Cir. 1991) overruled on other grounds by United States v. Flowers, 464 F.3d 1127 (10th Cir. 2006)).
         8
             Id. (citing Hunter v. New Mexico, 916 F.2d 595, 598 (10th Cir. 1990)).
         9
          United States v. Cook, 745 F.2d 1311, 1316 (10th Cir. 1984) (citing Williams v. United States, 179 F.2d
656, 659 (5th Cir. 1950)).
         10
              United States v. Stoner, 98 F.3d 527, 532 (10th Cir. 1996) (internal quotation marks and brackets
omitted).
         11
              Id. at 536–37.




                                                             3
      Case 2:14-cr-20109-JAR           Document 265        Filed 12/01/16      Page 4 of 10




allegations that she unreported earnings from both MMACI and MMAC, and she was no longer

able to use testimony from the Kansas Secretary of State’s office regarding the existence of

MMACI during the tax years at issue.

       The Court previously ruled on this issue at trial, as well as in its Memorandum and Order

granting in part and denying in part Defendant’s motion for acquittal.12 As the Court explained

in these previous rulings, the change to MMAC in the Superseding Indictment constituted a mere

variance. Defendant had notice of the charges against her, and the amendment did not mislead

her or subject her to any added burdens at trial. Defendant was not obligated to refute allegations

of unreported income of MMACI, because this entity did not exist during the tax years at issue.

Even before the variance was allowed, the Superseding Indictment made clear that the relevant

entity was the entity that filed the tax returns during the tax years at issue, i.e., MMAC. Indeed,

the relevant tax returns in evidence at trial named MMAC as the name of the corporation, and

Defendant used MMAC as the name of the entity in pleadings filed with the Court.

       As the Court previously explained, this was not a case in which the Government

incorrectly named an entity that was in existence during the tax years at issue and filed a separate

set of returns than the actual relevant entity. In such a situation, Defendant may have been

legitimately confused as to which entity was actually implicated. Here, by contrast, the

Superseding Indictment incorrectly named a corporation that was not in existence and did not file

tax returns during the tax years at issue, likely because the relevant tax returns represented the

entity to be a C corporation. But the Superseding Indictment made clear that the only relevant

entity was MMAC, the only entity that was in existence and the only entity that filed tax returns

during the tax years at issue. The variance here from MMACI to MMAC did not impermissibly


       12
            Doc. 238.




                                                  4
       Case 2:14-cr-20109-JAR                 Document 265           Filed 12/01/16        Page 5 of 10




broaden the Superseding Indictment, but simply amended the form of the company that was

already clearly implicated. Accordingly, the Court finds that Defendant has not presented a

substantial question of law as to whether the Superseding Indictment was constructively

amended.

        B.          Civil Audit File

        Defendant argues the trial and sentencing were fundamentally unfair and violated her

constitutional due process rights because the Government destroyed exculpatory evidence prior

to trial. Specifically, she contends that the Government destroyed the civil audit file related to a

2005 IRS investigation of Stegman’s 2000, 2001, and 2002 individual tax returns. The file also

contained a “no change” letter to Stegman for the tax years that were at issue during the civil

audit. IRS Agent Janice Willard reviewed the civil audit file in April 2011 during the course of

investigating this case, and took fourteen pages of notes that summarized the file. Although the

audit file was destroyed, Agent Willard’s notes were retained and offered in evidence at trial.

        Under the Due Process clause, the Government must preserve evidence that is

constitutionally material: “evidence must both possess an exculpatory value that was apparent

before the evidence was destroyed, and be of such a nature that the defendant would be unable to

obtain comparable evidence by other reasonably available means.”13 Evidence is material if it is

“favorable to the accused, so that, if disclosed and used effectively, it may make the difference

between conviction and acquittal.”14 In Arizona v. Youngblood,15 the Supreme Court provided




        13
             California v. Trombetta, 467 U.S. 479, 488–89 (1984).
        14
          United States v. Sullivan, 919 F.2d 1403, 1427 (10th Cir. 1990) (quoting United States v. Bagley, 473
U.S. 667, 676 (1985)).
        15
             488 U.S. 51 (1988).




                                                          5
       Case 2:14-cr-20109-JAR          Document 265        Filed 12/01/16      Page 6 of 10




that if the evidence is instead only “potentially useful” for the defense, then the defendant must

show that the Government acted in bad faith in destroying the evidence.16

        The Court addressed Defendant’s arguments about the destruction of the civil audit file in

its Memorandum and Order of August 21, 2015, denying Defendant’s motion to dismiss the

charges against her.17 The Court held an evidentiary hearing prior to issuing that Memorandum

and Order and heard testimony from Agent Willard and Special Agent Randy Praiswater. The

Court found that the civil audit file did not have apparent exculpatory value that could not be

reasonably obtained from other sources. The Court also found that there was no bad faith on the

part of the Government. The agents did not know the file would be destroyed and did not intend

for it to be destroyed. The Court again addressed these arguments in denying Defendant’s

motion for new trial.18

        Defendant largely repeats her arguments regarding the civil audit file in support of her

present motion. Defendant argues that the file was facially exculpatory because it contained

evidence that supported her cash hoard and good faith reliance defenses. Alternatively, she

contends that even if the civil audit file was only potentially exculpatory, the Government acted

in bad faith in destroying the file.

        As the Court explained in its previous rulings, the information contained in the civil audit

file was not facially exculpatory. The civil audit was entirely unrelated to the charges at issue in

this case, and the statements by her tax preparers during this audit did not have any apparent

exculpatory value as to Defendant’s good faith defense. Further, contrary to Defendant’s

suggestion that Agent Willard admitted at the August 2015 hearing that the audit file contained


        16
             Id. at 58.
        17
             Doc. 108.
        18
             Doc. 238 at 13–15




                                                 6
       Case 2:14-cr-20109-JAR              Document 265           Filed 12/01/16         Page 7 of 10




evidence supporting a cash hoard defense, the Court has previously found that Agent Willard

repeatedly testified at the hearing that the audit file did not contain evidence of such a defense.19

The Court cannot find that a close question exists as to whether the civil audit file contained

facially exculpatory evidence that was apparent before the audit file was destroyed.

        Turning to Defendant’s bad faith argument, the factors relevant to this issue weighed

decidedly in favor of a finding that the Government acted without bad faith: the Government did

not have explicit notice at the time the audit file was destroyed that Defendant believed the

evidence was exculpatory; Defendant’s claim that the audit file was exculpatory as to the

charged offenses lacked significant evidentiary support; the Government did not have the audit

file at the time of the Indictment; the audit file was not central to the Government’s case; and the

Government provided an adequate explanation for the destruction of the file, i.e., that the audit

file was destroyed only after the Agents made a summary of the file’s contents and determined

that the information was not relevant or exculpatory.20 Consistent with this finding, the Court

ruled in limine that Defendant could present evidence regarding the civil audit file in support of

her cash hoard defense, but could not introduce testimony or evidence that officials acted in bad

faith when the audit file was destroyed.21 Accordingly, the Court cannot find that a close

question exists as to whether the civil audit file was destroyed in bad faith.

        In sum, the Court cannot find that a substantial question exists as to whether the

destruction of the civil audit file rendered Defendant’s trial and sentencing fundamentally unfair.

At most, the civil audit file was only potentially exculpatory, and the circumstances surrounding

the destruction of the audit file strongly suggest that the Government acted without bad faith.

        19
             Doc. 108 at 13.
        20
          See United States v. Bohl, 25 F.3d 904, 910–12 (10th Cir. 1994) (applying Arizona v. Youngblood, 488
U.S. 51 (1988)).
        21
             Doc. 146 at 4.




                                                       7
      Case 2:14-cr-20109-JAR                Document 265          Filed 12/01/16   Page 8 of 10




Moreover, any unfairness to Defendant was tempered by her ability to use the fourteen pages of

summary notes, cross-examination, and testimony of her experts—who relied on the summary

notes—to support her cash hoard and good faith defenses. Thus, the Court finds that Defendant

has not presented a substantial question as to whether her trial and sentencing were

fundamentally unfair based on the destruction of the civil audit file.

       C.         Statements by Don Lake

       Finally, Defendant argues that a close question exists as to whether her Sixth Amendment

right to confront witnesses against her was violated based on the admission of written statements

by her former tax preparer, Don Lake, who is deceased and did not testify at trial. “As a rule, if

an out-of-court statement is testimonial in nature, it may not be introduced against the accused at

trial unless the witness who made the statement is unavailable and the accused has had a prior

opportunity to confront that witness.”22 The Court initially ruled on this issue in response to

Defendant’s motion in limine to exclude Lake’s statements, and again ruled on this issue in

response to Defendant’s motion for new trial.23 As previously explained, the Government sought

to admit documents that Lake provided to IRS agents in connection with their investigation into

Defendant’s taxes, as well as notes of interviews conducted by IRS officials during which both

Lake and Defendant were present. Some of the documents had Lake’s handwriting on them,

which was identified at trial by Lake’s wife; some documents contained handwriting that

witnesses testified belonged to Defendant Stegman.

       The Court allowed those documents to be admitted at trial because they were not

testimonial and were not subject to the Confrontation Clause. Defendant argues that Lake’s

statements to the IRS were testimonial, and therefore allowing the Government to introduce his

       22
            Bullcoming v. New Mexico, 564 U.S. 647, 658 (2011).
       23
            Docs. 146 & 238.




                                                        8
       Case 2:14-cr-20109-JAR               Document 265      Filed 12/01/16    Page 9 of 10




statements without Defendant having the opportunity to cross-examine him violated her rights

under the Conrontation Clause. The documents, however, were turned over to the IRS on

Stegman’s behalf within the scope of Lake’s power of attorney relationship with Stegman.

Because of the power of attorney relationship, they were, in essence, Stegman’s own statements,

and thus properly admitted as statements of a party opponent under Rule 801(d)(2)(A). The

documents themselves were business records, which are not testimonial and are not subject to the

Confrontation Clause.24 The Court therefore finds that Defendant has not presented a close

question as to whether the admission at trial of Lake’s written statements to the IRS violated her

Sixth Amendment Confrontation Clause rights.

III.   Conclusion

       The Court finds that Defendant has not presented a substantial question of law to justify

her release on bond pending appeal. As the Court explained above, the change of MMACI to

MMAC in the Superseding Indictment was a simple variance, rather than a constructive

amendment. Additionally, there is little, if any, evidence in the record that the civil audit file

contained facially exculpatory information that was apparent before the audit file was destroyed,

or that the Government acted in bad faith in destroying the file. Finally, Defendant has not

presented a close question as to whether her Confrontation Clause rights were violated by

allowing the admission at trial of Don Lake’s written statements to the IRS. For these reasons,

the Court denies Defendant’s motion for bond pending appeal.

       IT IS THEREFORE ORDERED BY THE COURT that Defendant Kathleen

Stegman’s Motion for Bond Pending Appeal (Doc. 254) is denied. Defendant shall report to

the United States Bureau of Prisons by no later than January 2, 2017.


       24
            Crawford v. Washington, 541 U.S. 36, 55 (2004).




                                                        9
Case 2:14-cr-20109-JAR     Document 265   Filed 12/01/16   Page 10 of 10




 IT IS SO ORDERED.

 Dated: December 1, 2016
                                       S/ Julie A. Robinson
                                       JULIE A. ROBINSON
                                       UNITED STATES DISTRICT JUDGE




                                  10
